         Case 15-41255   Doc 186   Filed 10/03/17   Entered 10/03/17 14:30:38   Desc Main Document   Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                                                       §
                                                             §
WINGSPAN PORTFOLIO                                           §             Case No. 15-41255
ADVISORS, LLC,                                               §
                                                             §             (Chapter 7)
                           Debtor.                           §

                      MOTION TO COMPROMISE CONTROVERSY
                WITH TRIXY WEISS, MAPLETON REALTY ADVISORS, LLC
                     AND MAPLETON OPPORTUNITY FUND I, LLC

         NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
         WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
         STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
         FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
         DATE OF SERVICE UNLESS THE COURT SHORTENS OR EXTENDS
         THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS
         TIMELY SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO
         BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
         GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND
         SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET
         A HEARING. THE COURT RESERVES THE RIGHT TO SET A HEARING
         ON ANY MATTER.

         Michelle Chow, Trustee files this Motion to Compromise Controversy with Trixy Weiss,

Mapleton Realty Advisors, LLC and Mapleton Opportunity Fund I, LLC (“Motion”) and would

respectfully show the Court as follows:

         1.      On July 13, 2015 (the “Petition Date”) Wingspan Portfolio Advisors, LLC filed a

voluntary petition under Chapter 7.

         2.      Michelle Chow is the duly appointed Trustee.

         3.      Prior to the Petition Date, Debtor paid the sum of $275,000 to Mapleton Realty

Advisors, LLC (“MRA”), and paid the sum of $275,000 to Mapleton Opportunity Fund I, LLC

(“MOF”), both payments were made on or about June 13, 2014. Debtor paid the sum of $550,000 to


MOTION TO COMPROMISE CONTROVERSY WITH TRIXY WEISS, MAPLETON REALTY ADVISORS, LLC AND
MAPLETON OPPORTUNITY FUND I, LLC – Page 1
        Case 15-41255   Doc 186   Filed 10/03/17   Entered 10/03/17 14:30:38   Desc Main Document   Page 2 of 4




Trixy Weiss (“Weiss”) on or about July 18, 2014 (Weiss, MRA and MOF will be referred to as

“Payors”). Debtor paid the sum of $550,000 to Weiss on or about August 15, 2014. The Trustee

contends that each of these payments were made pursuant to usurious loans in violation of Chapter 305

of the Texas Finance Code. The Payors deny such claims. After extensive negotiation, the Trustee and

Payors (without admitting any liability whatsoever) have reached an agreement whereby Payors will

pay $135,000.00 to the Trustee in exchange for mutual releases of any and all claims including those

arising under 11 U.S.C. §502(h).

        4.      Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that “[o]n

motion by the trustee and after notice and a hearing, the court may approve a compromise and

settlement.”

        5.      In deciding whether to approve a proposed settlement agreement or compromise of

controversy, a bankruptcy court should consider the following factors:

                a.       the probability of success on the merits and the resolution of the dispute;

                b.       the complexity of the litigation being settled;

                c.       the expense, inconvenience and delay associated with litigating the dispute; and

                d.       the paramount interests of creditors.

Foster Mortgage Corp. v. Connecticut General Life Ins. Co. (In re Foster Mortgage Corp.), 68 F.3d 914

(5th Cir. 1996); Texas Extrusion Corp. v. Lockheed Corp. (In re Texas Extrusion Corp.), 844 F.2d 1142,

1158-59 (5th Cir. 1988), cert. denied, 105 S.Ct. 31 (1989); U.S. v. Aweco, Inc. (In re Aweco, Inc.), 752

F.2d 293, 298 (5th Cir. 1984), cert. denied, 469 U.S. 880 (1984).

        6.      While it is necessary for the proponent of a compromise to set forth the factual and legal

basis for the compromise so the court can make an intelligent and informed evaluation of the proposed




MOTION TO COMPROMISE CONTROVERSY WITH TRIXY WEISS, MAPLETON REALTY ADVISORS, LLC AND
MAPLETON OPPORTUNITY FUND I, LLC – Page 2
         Case 15-41255   Doc 186   Filed 10/03/17   Entered 10/03/17 14:30:38   Desc Main Document   Page 3 of 4




settlement, it is not incumbent upon the proponent to present a mini-trial or a full evidentiary hearing.

Texas Extrusion, 844 F.2d at 1158-59; Aweco, 725 F.2d at 298.

         7.      In order to avoid the expense and uncertainty of litigation, the Trustee prays that the

settlement be approved as being in the best interest of the estate and the creditors. The settlement would

allow the estate to recover more than 90% of the claim without filing suit and avoiding the cost of

litigation.

         WHEREFORE, PREMISES CONSIDERED the Trustee prays that the Court approve the

compromise and for such other and further relief as she may show herself justly entitled.

                                                        Respectfully submitted,

                                                        SINGER & LEVICK, P.C.


                                                        By:       /s/Todd A. Hoodenpyle
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                                                        MICHELLE H. CHOW, TRUSTEE




MOTION TO COMPROMISE CONTROVERSY WITH TRIXY WEISS, MAPLETON REALTY ADVISORS, LLC AND
MAPLETON OPPORTUNITY FUND I, LLC – Page 3
        Case 15-41255   Doc 186   Filed 10/03/17   Entered 10/03/17 14:30:38   Desc Main Document   Page 4 of 4




                                       CERTIFICATE OF SERVICE

        I hereby certify that Notice of this document will be electronically mailed to the parties that are
registered or otherwise entitled to receive electronic notices in this case pursuant to the Electronic Filing
Procedures in this District and that a true and correct copy has been served on the party listed below as
indicated, and on the attached service list via first class mail, postage prepaid on this 3rd day of October
2017.

Via First Class Mail
and Via Email: jgersh@stubbsalderton.com

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and Mapleton Opportunity Fund I, LLC


                                                                  /s/Todd A. Hoodenpyle
                                                                 Todd A. Hoodenpyle




MOTION TO COMPROMISE CONTROVERSY WITH TRIXY WEISS, MAPLETON REALTY ADVISORS, LLC AND
MAPLETON OPPORTUNITY FUND I, LLC – Page 4
